                    Case 1:23-mc-51662-TLL ECF No. 7, AUSA:
                                                      PageID.50   Filed
                                                            William Orr 09/05/24 Page  1 of 10
                                                                                  Telephone: (989) 895-5712
AO 93 (Rev. 11/13) Search and Seizure Warrant                   Special Agent:      Wade                                 Telephone: (810) 341-5710


                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                              Eastern District of Michigan

                  In the Matter of the Search of                            )
              (Briefly describe the property to be searched                 )
               or identify the person by name and address)                  )    Case No.     1:23-mc-51662 -1
      2541 Baldwin Street, Saginaw, Michigan                                )                 Judge: Ludington, Thomas L.
                                                                            )                 Filed: 11-28-2023
                                                                            )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Eastern   District of        Michigan                                          .
(identify the person or describe the property to be searched and give its location):
                                                                                                I hereby certify that the foregoing is a certified copy
                                                                                                of the original on file in this office.
See ATTACHMENT A.
                                                                                                Clerk, U.S. District Court
                                                                                                Eastern District of Michigan

                                                                                                By: s/ Kristen Castaneda
                                                                                                    Deputy

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
See ATTACHMENT B. Violation of:
                  21 U.S.C. §§ 841(a)(1) Possession with intent to distribute a controlled substance




        YOU ARE COMMANDED to execute this warrant on or before December 12, 2023                    (not to exceed 14 days)
       ✔ in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the presiding United States Magistrate Judge on duty        .
                                                                                                 (United States Magistrate Judge)

          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
         for       days (not to exceed 30)      until, the facts justifying, the later specific date of                                                       .


Date and time issued:             November 28, 2023           11:23 am
                                                                                                             Judge’s signature

City and state:        Bay City, Michigan                                        Patricia T. Morris,                  U. S. Magistrate Judge
                                                                                                         Printed name and title
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                                ATTACHMENT A

                              Location to Be Searched


2541 Baldwin Street Saginaw, Michigan (the “Subject Property”), is a single-story,

single-family residence, which is located at 2541 Baldwin Street, Saginaw, MI

48601. 2541 Baldwin’s structure is the located on the north side of Baldwin Street

and is the third house to the east of South 23rd Street. The main front door to 2541

Baldwin Street is located on the south side of the residence. The numbers “2541”

are black in color over a white background, and they are located on the east side of

the black mailbox at the end of the driveway of the residence. The driveway to 2541

Baldwin Street is located on the west side of the residence, and it runs north to south

from the roadway of Baldwin Street to the exterior garage which is located to the

northwest of the residence of 2541 Baldwin Street.
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   Case 1:23-mc-51662-TLL ECF No. 7, PageID.53 Filed 09/05/24 Page 4 of 10




                                ATTACHMENT B

a. Any and all illegal controlled substances including but not limited to crystal
   methamphetamine;

b. Any and all proceeds derived from the sale and or distribution of controlled
   substances;

c. Any and all equipment, paraphernalia, packaging materials and or items related
   to the obtaining, manufacturing, preparation, sale and or distribution of illegal
   and or non-prescribed controlled substances (including but not limited to scales,
   cutting/diluting agents, grinders, microwave ovens, and plastic baggies) and or
   use of illegal and or non-prescribed controlled substances;

d. Any and all electronic and or digital communication devices including but not
   limited to cellular telephones and or other means of electronic or digital
   communication and all associated hardware, software and manuals and the
   contents of any such devices

e. Any and all electronic devices designed to process and or store data or
   information and or transmit data or information (including but not limited to
   computers, GPS devices, “flash” or “thumb” drives, CD’s, DVD’s, external hard
   drives, all associated hardware, software and manuals) to include the contents of
   any such devices;

f. Any and all records relating to the obtaining, manufacturing, processing,
   compounding, sale and or distribution of controlled substances whether in written
   form or otherwise;

g. Any and all photographs or video or electronic or digital depictions of controlled
   substances and or of proceeds derived from the sale or distribution of controlled
   substances and or of persons and or places involved in the obtaining,
   manufacture, processing, compounding, sale, distribution and or use of controlled
   substances and or of firearms and or equipment used or intended to be used in the
   obtaining, manufacture, processing, compounding, sale and or distribution of
   controlled substances;
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h. Any and all financial records including but not limited to tax returns and
   associated records, bank and or credit union and or financial institution records,
   credit and or debit card records, checks, check registers, wire transfers, loan
   documents, and rental or leasing agreement records;

i. Any and all firearms, ammunition, and or any documents indicating the
   possession, sale, receipt, purchase or barter for items in exchange for firearms or
   property, specifically ammunition packaging, containers, labels, receipts, and
   other items pertaining to the possession of firearms, including gun cases,
   ammunition magazines, holsters, spare parts for firearms, firearms cleaning
   equipment, photographs of firearms or of persons in possession of firearms, and
   receipts for the purchase and/or repair of all these items.

j. Any and all prerecorded buy funds from law enforcement utilized during
   controlled purchases of narcotics and firearms.

k. Any and all records that establish the persons who have control, possession,
   custody or dominion over the location where evidence is located.

l. Any and all records of the above evidence may include electronic records, or
   records in any form such as audio recordings, video recordings, memoranda,
   correspondence, diaries, maps, notes, address books, day planners, calendars,
   appointment books, newspaper clippings, articles, books, storage agreements and
   bills, storage locker keys, asset ownership records, journals, ledgers, financials,
   budgets, proposals, plans, contracts, agreements, bills of sale, delivery records,
   invoices, receipts, documentation of conveyances, deeds, and other papers.

m. Any and all items of personal property which tend to identify the person(s) in
   residence, occupancy, control or ownership of the premises that is the subject of
   this warrant, including but not limited to cancelled mail, deeds, leases, rental
   agreements, photographs, personal telephone books, diaries, utility and
   telephone bills, statements, identification documents, and keys;

n. Any and all cameras, photographs, memory cards which tend to identify the
   person(s) in residence, occupancy, control or ownership of the premises in
   which it was found;

o. Any and all photographs, in any form, of any individuals known to have a
   felony conviction possessing firearms,4ammunition, and other dangerous
     Case 1:23-mc-51662-TLL ECF No. 7, PageID.55 Filed 09/05/24 Page 6 of 10




     weapons;

p.   Cellular telephones and cellular telephone records.




                                           5
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ATF Evidence Case
             log 1:23-mc-51662-TLL case#:
                                    ECF No. 7, PageID.57 Filed 09/05/24 Page 8 of 10
                                          774040-24-0007
Date/Time: 11/29/2023 // 1330hrs                                                                     r-:�-.                         Team Leader: Wade
                                                                                               ,/.··
Mdress:            2541 Baldwin Ave                                                         /(,;,�::__·-�-:-'.':.._�;,<.I _
                                                                                               I         . •. I' :--   .;.I
                                                                                                                                    Photographer: Monfette
Location/Name: Saginaw, MI 48601
                                                                                             /__�_
                                                                                                                                    Schernatic Artist:
Other:
                                                                                            ((i�,,.,.J;                             Other:


                                                                                            Property Seized
 Item II     NFon:e I Photo II Description (e.g., QvontJty, Type, Calibt:r, importer, Markings, Colar, Headstump, Value, etc:.):                             Finder:
1                                 HS Produkt, Springfield Armory Model XD-45 pistol                                                                           Eddy
Make/Madel:                                                                    Serlol/Unique II:                                        Locattan Found:
  XD-45                                                                          US760559                                               S/E Bedroom-on floor by bed
 Item II     NFarte II Photo# Desc:riptlon (e.g., Quonttty, Type. Culiber, Importer, MarJclngs, Color, Headstump, Value, etc:.}:                             Finder.
2                                  Loaded magazine and one round that was in chamber of Item #1                                                              Eddy
                                                                               Serial/Unique II:                                        I.D,;atJon Found:
N/A                                                                             N/A                                                     In Item #1
             NFarce II Pharo II Description (e.g.. Quantity, Type, <;aliber, Importer, MarlcJngs, Color, Heodstamp, Valut, erc.J:                            Finder:
3                                 Two loaded AR magazines                                                                                                     Eddy
                                                                               Serial/Unique 1k                                         Locotlon Found:
 N/A                                                                           N/A                                                      S/E Bedroom on Ironing board
 Item II     NForce II Photo I Description (e.g� Quanrlty, Type, Caliber, Importer, Mor/cings, Co/or, Headstomp, Valve, rte.Jr                               Finder.
4                                  Radical Firearms, model RF-15, multi-cal SBR (pistol)                                                                      Eddy
Mate/Model:                                                                    Serial/Unique II:                                        Location Found:
 RF-15                                                                          19-102308                                               S/E Bedroom on bed, under pillow
  Item #     NForr:e II Photo II Description (e.g., Q110nt/ty, Typ� Caliber, Jmporter, Mart/nos, Color, Heodstamp, Valul!, erc.J:                            Flndt1r:
 5                                 One round from chamber of #4 and drum magazine loaded with ammo Eddy
                                                                                Serial/Unique II:                                       Location Found:
 N/A                                                                            N/A                                                     In item #4
             NFarce II Photo II De.script/on (e.g., Quantity, Type, Coliber, Importer, Markings, Color, Heodstomp, Value, eu;.}:                             Finder:
 6                                 Vortex android cellphone                                                                                                   Monfette
    ake/Model:                                                                  Ser/111/Unlque II:                                      l.ocotlon found:
                                                                                                                                        Family Room-on couch
             NForce II Photo II DescrlptiOn (e.g., Q110ntity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, etc.}:                             Finder:
 7                                 Residency (receipt) for CARTER                                                                                             Monfette
                                                                                Serlol/lJnJque #:                                       I.DcotJon Found:
                                                                                                                                        S/E Bedroom-box in closet
    Item I    Nforu II Photo I DescrJptJan (e.g., Quantity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, l!tc.}:
 8                                 Android cellphone-unlocked and placed into airplane mode by Sutara                                                         Sutara
    ake/Model:                                                                  Striol/lJnique II:                                       I.Dcotlon Found:
                                                                                                                                        Kitchen table drawer
    Item I    NForce II Photo# Description (e g., Qoontlty, Type, Caflber, Importer, Markings, Color, Headsmmp, Value, etc.}:                                 Finder:
 9                                  Iver Johnson Arms, Revolver, .32 caliber                                                                                   Eddy
    alee/Model:                                                                 Serial/Unique II:                                        Locotton Found:
                                                                                896T8                                                    Safe from S/E Bedroom
              NF-orce II Photo I Description (e.g., Quc,nlity, Type, cam,er, Importer, Markings, Color, Headstomp, Value,�.):
 10                                 Five (5) rounds of .32 caliber ammunition-from Item #9                                                                     Eddy
                                                                                Serlol/Unlque II:                                        Location Found:
                                                                                                                                         Loaded in Item #9
    Item I    NForce fl Photo I Description (e.g., Quantity, Type, Colt/Mr, Importer, Markings, Color, Heodstomp, Value, ett.}:
 11                                 Two cellphones                                                                                                             Eddy
     oke/Model:                                                                  Serial/Unique II:                                       Locotion Found:
                                                                                                                                         In safe from S/E Bedroom

                Sutara                                                                                                                                                       1     2
 Evidence Tech: _______________ Signature: _______________                                                                                                              Page: __ of __
ATF Evidence Case
             log 1:23-mc-51662-TLL case#:
                                    ECF No. 7, PageID.58 Filed 09/05/24 Page 9 of 10
                                          774040-24-0007
                See above
Date/Time:                                                                                         r-:�-.                         Team Leader: See above
                                                                                             ,/.··
Mdress: See above                                                                         /(,;,�::__·-�-:-'.':.._�;,<.I _
                                                                                             I         . •. I' :--   .;.I
                                                                                                                                  Photographer: See above
Location/Name: See above                                                                   /__�_
                                                                                                                                  Schernatic Artist:
Other:
                                                                                          ((i�,,.,.J;                             Other:


                                                                                          Property Seized
 Item II   NFon:e I Photo II Description (e.g., QvontJty, Type, Calibt:r, importer, Markings, Colar, Headstump, Value, etc:.):                            Finder:
12                               Five magazines                                                                                                           Eddy
Make/Madel:                                                                  Serlol/Unique II:                                        Locattan Found:
                                                                                                                                      Safe from S/E Bedroom
 Item II   NFarte II Photo# Desc:riptlon (e.g., Quonttty, Type. Culiber, Importer, MarJclngs, Color, Headstump, Value, etc:.}:                            Finder.
13                              $2,285 of US Currency-TOT BAYANET                                                                                         Wade
                                                                             Serial/Unique II:                                        I.D,;atJon Found:
                                                                                                                                      S/E Bedroom-shoe box
           NFarce II Pharo II Description (e.g.. Quantity, Type, <;aliber, Importer, MarlcJngs, Color, Heodstamp, Valut, erc.J:                           Finder:
 14                             Suspected meth, powder, cocaine, pills, and a scale                                                                       Sutara
                                                                             Serial/Unique 1k                                         Locotlon Found:
                                                                                                                                       Kitchen-bottom cabinet in shoebox
 Item II   NForce II Photo I Description (e.g� Quanrlty, Type, Caliber, Importer, Mor/cings, Co/or, Headstomp, Valve, rte.Jr                              Finder.
 15                             Black bag with scale and residue                                                                                          Sutara
Mate/Model:                                                                  Serial/Unique II:                                        Location Found:
                                                                                                                                      Kitchen-bottom cabinet by Item #14
  Item #   NForr:e II Photo II Description (e.g., Q110nt/ty, Typ� Caliber, Jmporter, Mart/nos, Color, Heodstamp, Valul!, erc.J:                           Flndt1r:
  16                             Orange in color unknown pills                                                                                             Zylik
                                                                              Serial/Unique II:                                       Location Found:
                                                                                                                                      Kitchen table
           NFarce II Photo II De.script/on (e.g., Quantity, Type, Coliber, Importer, Markings, Color, Heodstomp, Value, eu;.}:                            Finder:
 17                              14 pairs of shoes, 1 MCM belt-TOT BAYANET                                                                                McGraw
  ake/Model:                                                                  Ser/111/Unlque II:                                      l.ocotlon found:
 N/A                                                                          N/A                                                      S/E Bedroom
           NForce II Photo II DescrlptiOn (e.g., Q110ntity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, etc.}:                            Finder:
 18                              Two phones held by CARTER at time of SW                                                                                  Wade
                                                                              Serlol/lJnJque #:                                       I.DcotJon Found:
                                                                                                                                       Held by CARTER at time of entry
  Item I    Nforu II Photo I DescrJptJan (e.g., Quantity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, l!tc.}:


  ake/Model:                                                                  Striol/lJnique II:                                       I.Dcotlon Found:


  Item I    NForce II Photo# Description (e g., Qoontlty, Type, Caflber, Importer, Markings, Color, Headsmmp, Value, etc.}:                                Finder:


  alee/Model:                                                                 Serial/Unique II:                                        Locotton Found:


            NF-orce II Photo I Description (e.g., Quc,nlity, Type, cam,er, Importer, Markings, Color, Headstomp, Value,�.):


                                                                              Serlol/Unlque II:                                        Location Found:


  Item I    NForce fl Photo I Description (e.g., Quantity, Type, Colt/Mr, Importer, Markings, Color, Heodstomp, Value, ett.}:


   oke/Model:                                                                  Serial/Unique II:                                       Locotion Found:




                                                                                                                                                                         2     2
                Sutara
 Evidence Tech: _______________ Signature: _______________                                                                                                           Page: __ of __
ATF EvidenceCase
             log 1:23-mc-51662-TLL case#:
                                    ECF No. 7, PageID.59 Filed 09/05/24 Page 10 of 10

Date/Time:
                                                                                             ,/.··
                                                                                                   r-:�-.                         Team Leader:
Mdress:                                                                                   /(,;,�::__·-�-:-'.':.._�;,<.I _
                                                                                             I         . •. I' :--   .;.I
                                                                                                                                  Photographer:
                                                                                           /__�_
Location/Name:                                                                                                                    Schernatic Artist:
Other:
                                                                                          ((i�,,.,.J;                             Other:


                                                                                          Property Seized
 Item II   NFon:e I Photo II Description (e.g., QvontJty, Type, Calibt:r, importer, Markings, Colar, Headstump, Value, etc:.):                            Finder:


Make/Madel:                                                                  Serlol/Unique II:                                        Locattan Found:


 Item II   NFarte II Photo# Desc:riptlon (e.g., Quonttty, Type. Culiber, Importer, MarJclngs, Color, Headstump, Value, etc:.}:                            Finder.


                                                                             Serial/Unique II:                                        I.D,;atJon Found:


           NFarce II Pharo II Description (e.g.. Quantity, Type, <;aliber, Importer, MarlcJngs, Color, Heodstamp, Valut, erc.J:                           Finder:


                                                                             Serial/Unique 1k                                         Locotlon Found:


 Item II   NForce II Photo I Description (e.g� Quanrlty, Type, Caliber, Importer, Mor/cings, Co/or, Headstomp, Valve, rte.Jr                              Finder.


Mate/Model:                                                                  Serial/Unique II:                                        Location Found:


  Item #   NForr:e II Photo II Description (e.g., Q110nt/ty, Typ� Caliber, Jmporter, Mart/nos, Color, Heodstamp, Valul!, erc.J:                           Flndt1r:


                                                                              Serial/Unique II:                                       Location Found:


           NFarce II Photo II De.script/on (e.g., Quantity, Type, Coliber, Importer, Markings, Color, Heodstomp, Value, eu;.}:                            Finder:


  ake/Model:                                                                  Ser/111/Unlque II:                                      l.ocotlon found:


           NForce II Photo II DescrlptiOn (e.g., Q110ntity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, etc.}:                            Finder:


                                                                              Serlol/lJnJque #:                                       I.DcotJon Found:


  Item I    Nforu II Photo I DescrJptJan (e.g., Quantity, Type, Caliber, Importer, Markings, Color, Headstamp, Value, l!tc.}:


  ake/Model:                                                                  Striol/lJnique II:                                       I.Dcotlon Found:


  Item I    NForce II Photo# Description (e g., Qoontlty, Type, Caflber, Importer, Markings, Color, Headsmmp, Value, etc.}:                                Finder:


  alee/Model:                                                                 Serial/Unique II:                                        Locotton Found:


            NF-orce II Photo I Description (e.g., Quc,nlity, Type, cam,er, Importer, Markings, Color, Headstomp, Value,�.):


                                                                              Serlol/Unlque II:                                        Location Found:


  Item I    NForce fl Photo I Description (e.g., Quantity, Type, Colt/Mr, Importer, Markings, Color, Heodstomp, Value, ett.}:


   oke/Model:                                                                  Serial/Unique II:                                       Locotion Found:




                                                                                                                                                                               6
 Evidence Tech: _______________ Signature: _______________                                                                                                           Page: __ of __
